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            Exhibit “A”
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Jay-Z 1 Photograph
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Jay-Z 2 Photograph
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Jay-Z 3 Photograph
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Jay-Z 4 Photograph
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            Exhibit “B”
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                                   “Sandra Rose”
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